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   8                     UNITED STATES DISTRICT COURT
   9                    CENTRAL DISTRICT OF CALIFORNIA
  10
        JULIO BALVANEDA,                      Case No. 2:21-cv-01254-JWH (AFM)
  11
                         Plaintiff,
  12
             v.                               ORDER ACCEPTING FINDINGS
  13                                          AND RECOMMENDATIONS OF
        ADELANTO ICE DETENTION                UNITED STATES MAGISTRATE
  14    FACILITY, et al.,                     JUDGE

  15                     Defendants.

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   1         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Report and
   2   Recommendation of United States Magistrate Judge. The time for filing Objections
   3   to the Report and Recommendation has passed and Objections have not been
   4   received. The Court accepts and adopts the Magistrate Judge’s Report and
   5   Recommendation.
   6         IT THEREFORE IS ORDERED that Judgment be entered DISMISSING
   7   this action without prejudice for failure to prosecute.
   8         IT IS SO ORDERED.
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  10   DATED: September 30, 2021
  11                                          ____________________________________
                                                      JOHN W. HOLCOMB
  12                                            UNITED STATES DISTRICT JUDGE
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